     Case: 1:20-cv-02368 Document #: 205 Filed: 10/08/21 Page 1 of 2 PageID #:3045
RJK/ACT                                                                                   03250-0080
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RANDY LIEBICH,                                        )
                                                      )
                                                      )
                       Plaintiff,                     )
v.                                                    )      No. 1:20-cv-02368
                                                      )      Honorable Steven C. Seeger
JOSEPH DELGIUDICE; GREGORY                            )      District Judge
FIGIEL, EDWARD KUNZ, THOMAS                           )
SZALINSKI; BORIS BRBOS; RAY                           )      Honorable David M. Weisman
BRADFORD; ROBERT LIEBICH; PAUL                        )      Magistrate Judge
SEVERIN; LORENZO MUNOZ;                               )
RUSH UNIVERSITY MEDICAL CENTER;                       )
COUNTY OF DUPAGE; and VILLAGE                         )
OF ROSELLE,                                           )
                                                      )
                       Defendants.                    )

                                    CERTIFICATE OF SERVICE

TO:     Counsel of Record

       I, Lee Watson, the undersigned non-attorney, on oath, state that I served the following
discovery documents on behalf of Defendants Paul Severin, M.D. and Lorenzo Munoz, M.D.:

               1.      First Set of Interrogatories Propounded by Defendant Paul
                       Severin, M.D. Upon Plaintiff; and
               2.      First Set of Interrogatories Propounded by Defendant
                       Lorenzo Munoz, M.D. Upon Plaintiff.

on counsel of record listed on the attached Service List via email on or before 5:00 p.m. on October
8, 2021.

                                              Respectfully submitted,

                                              SWANSON, MARTIN & BELL, LLP

                                              By:            /s/Richard J. Keating, Jr.
                                                        One of the Attorneys for Defendants
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   Case: 1:20-cv-02368 Document #: 205 Filed: 10/08/21 Page 2 of 2 PageID #:3046
RJK/ACT                                                                       03250-0080


                                      SERVICE LIST

                                 Liebich vs. Delgiudice, et al
                                    Case No. 20-cv-2368

 Plaintiff                                      Joseph DelGiudice; Michael Figiel, as
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 Arthur Loevy, Esq.                             deceased; Edward Kunz; Thomas Szalinski;
 Megan C. Pierce, Esq.                          Boris Vrbos; Ray Bradford; Robert Liebich;
 Sam Heppell, Esq.                              and Village of Roselle
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